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  17    Vasquez
  18
                               UNITED STATES DISTRICT COURT
  19
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  20
       LANCE AARON WILSON, et al,                   CASE NO. 2:20-cv-04450-CBM-PVCx
  21
                      Plaintiff-Petitioners,        PLAINTIFF-PETIONERS’
  22                                                RESPONSE TO DEFENDANTS-
                vs.                                 RESPONDENTS’ STATEMENT OF
  23                                                UNCONTROVERTED FACTS AND
     FELICIA L. PONCE, in her capacity as           CONCLUSIONS OF LAW IN
  24 Warden of Terminal Island, et al.,             SUPPORT OF MOTION FOR
                                                    SUMMARY JUDGMENT
  25                  Defendant-Respondents.
                      .                             Honorable Michael Fitzgerald
  26
                                                    Hearing Date: August 30, 2021
  27                                                Time: 10:00am
                                                    Courtroom.: 5A
  28
                                                1
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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   1            Pursuant to Central District of California Local Rule 56-1, Plaintiffs-
   2 Petitioners Lance Aaron Wilson, Maurice Smith, and Edgar Vasquez (“Petitioners”)
   3 submit this Response to Defendant-Respondents Felicia L. Ponce and Michael L.
   4 Carvajal’s (“Respondents”) Statement of Uncontroverted Facts and Conclusions of
   5 Law in support of their Motion for Summary Judgment.
   6                                                I.
   7         PETITIONERS’ RESPONSE TO RESPONDENTS’ STATEMENT OF
   8                               UNCONTROVERTED FACTS
   9
           STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT (“DF”)
  10
  11    DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
  12    PROPOSED FACT:                               RESPONSES
  13
        1. Victoria Morrison, the Quality            DISPUTED. Respondents have
  14
        Improvement/Infection Prevention &           proposed an opinion, not a fact.
  15    Control Consultant at FCI Terminal           Moreover, Petitioners dispute the facts
        Island, and Ronell Prioleau, the             upon which Ms. Morrison and Mr.
  16
        Associate Warden at FCI Terminal             Prioleau’s belief is based. Respondents
  17    Island, believe that the BOP has             have violated, and continue to violate,
        followed guidance and directives from        CDC recommendations for correctional
  18
        the CDC, World Health Organization           facilities in a number of ways,
  19    (WHO), the Office of Personnel               including by failing to conduct
        Management (OPM), the Department             surveillance testing (see infra DF 27),
  20
        of Justice (DOJ), and the White House        failing to appropriately screen staff for
  21    in responding to the COVID- 19               symptoms of COVID-19, see infra
        pandemic.                                    Petitioners’ Additional Uncontroverted
  22
                                                     Facts (“AUF”) 9-11, failing to require
  23                                                 staff exposed to COVID-19 to
                                                     quarantine or undergo testing for
  24
                                                     COVID-19, AUF 10, and failing to
  25                                                 ensure conditions in
                                                     quarantine/isolation units are non-
  26
                                                     punitive, AUF 20.
  27
  28
                                                    2
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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   1
        DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                          RESPONSES
   3
   4    2. On August 31, 2020, the BOP          NOT DISPUTED.
        released a COVID-19 Pandemic
   5    Response Plan that compiles previous
   6    guidance, including all phases of its
        Action Plan, and provides a
   7    comprehensive document with specific
   8    guidance for limiting the spread of
        COVID- 19 at BOP institutions.
   9
  10
        3. The COVID-19 Pandemic                DISPUTED. The BOP’s COVID-19
  11    Response Plan contains eleven modules   Pandemic Response Plan is not
        incorporating guidance from the         consistent with CDC guidance
  12
        Centers for Disease Control (CDC),      regarding testing of staff and
  13    World Health Organization (WHO),        incarcerated workers. See DF 1.
        and the Department of Justice (DOJ)
  14
        and those modules are updated from
  15    time to time in accordance with
        guidance from the CDC, WHO, and
  16
        DOJ.
  17
  18    4. Victoria Morrison, the Quality       DISPUTED. Respondents have
  19    Improvement/Infection Prevention &      proposed an opinion, not a fact.
        Control Consultant at FCI Terminal      Moreover, Petitioners dispute the facts
  20    Island, believes that FCI Terminal      upon which Ms. Morrison’s belief is
  21    Island has been operating in            based. See DF 1.
        compliance with the CDC’s guidance
  22    and with the BOP’s COVID-19
  23    Pandemic Response Plan.

  24
        5. Victoria Morrison, the Quality       DISPUTED. Respondents have
  25    Improvement/Infection Prevention &      proposed an opinion, not a fact.
  26    Control Consultant at FCI Terminal      Moreover, Petitioners dispute the facts
        Island, believes that FCI Terminal      upon which Ms. Morrison’s belief is
  27    Island has prevented further COVID-19   based. See DF 1.
  28
                                                3
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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   1
        DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                              RESPONSES
   3
        outbreaks, like the one that occurred in
   4    the spring of 2020, and COVID-19
   5    related deaths by implementing a host
        of measures, including broad-based
   6    testing and adherence to evolving CDC
   7    guidelines for infection prevention and
        control (such as cohorting and isolation
   8    procedures enacted after testing every
   9    inmate).

  10
        6. Dr. Jeffrey Beard believes that FCI      DISPUTED. Respondents have
  11    Terminal Island has been operating in       proposed an opinion, not a fact.
  12    compliance with the CDC’s guidance          Petitioners dispute the facts upon
        and the BOP’s Response Plan.                which Dr. Beard’s opinion is based.
  13                                                See DF 1.
  14
                                                    Additionally, Petitioners dispute that
  15                                                Dr. Beard is qualified to offer that
                                                    opinion. Dr. Beard is a psychologist
  16
                                                    with no medical or epidemiological
  17                                                training, who is not licensed to provide
                                                    clinical care, and has not provided any
  18
                                                    clinical care in over 40 years. Rim
  19                                                Decl., Ex. 2 at 3-4 (Deposition of J.
                                                    Beard (“Beard Depo.”) 8:8-25; 9:1-12.)
  20
                                                    He acknowledges that he is not an
  21                                                expert in medical care delivery in
  22                                                prisons or in infection control within
                                                    prisons. Id. at 4 (Beard Depo. at 9:13-
  23                                                16); Beard Decl. ¶ 8 (Dkt. 138-5.)
  24                                                Finally, Dr. Beard lacks the foundation
  25                                                to offer these opinions. In his latest
                                                    inspection of Terminal Island, Dr.
  26                                                Beard did not speak to a single
  27                                                incarcerated person about medical care
                                                    delivery or COVID-19. Rim Decl., Ex.
  28
                                                   4
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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   1
        DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                          RESPONSES
   3
                                                2 at 5 (Beard Depo. 22:16-25). Dr.
   4                                            Beard’s numerous citations to
   5                                            information from other individuals
                                                demonstrate his lack of first-hand
   6                                            knowledge. Beard Decl. ¶¶ 41-52 (Dkt.
   7                                            138-5).

   8
   9    7. Epidemiologist Asma Tekbali          DISPUTED. Respondents have
  10    believes FCI Terminal Island has been   proposed an opinion, not a fact.
        following CDC guidelines and the        Further, Petitioners dispute the facts
  11    BOP’s Pandemic Response Plan.           upon which Ms. Tekbali’s belief is
  12                                            based. See DF 1.

  13                                            Additionally, Petitioners dispute that
                                                Ms. Tekbali has the proper foundation
  14
                                                to offer that opinion. Ms. Tekbali has
  15                                            no firsthand knowledge of Terminal
                                                Island’s COVID-19 response practices.
  16
                                                She took few, if any, steps to
  17                                            corroborate the information that she
                                                included in either of her two reports,
  18
                                                information which she received from
  19                                            the BOP’s other expert, Dr. Beard, or
                                                from one member of prison leadership.
  20
                                                See Declaration of Asma Tekbali
  21                                            (“Tekbali Decl.”) ¶¶ 13, 15 (Dkt. No.
  22                                            138-4). She did not speak with anyone
                                                incarcerated at Terminal Island, did not
  23                                            interview staff assigned to work in the
  24                                            housing units, did not review anyone’s
                                                individual healthcare records, and did
  25                                            not review any contact tracing
  26                                            worksheets. Rim Decl., Ex. 3 at 6-8
                                                (Deposition of Asma Tekbali (“Tekbali
  27                                            Depo.”) 13:6-21, 14:24-15:16).
  28
                                                5
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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   1
        DEFENDANT-RESPONDENTS’                   PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                           RESPONSES
   3
   4                                             Finally, Petitioners dispute that Ms.
                                                 Tekbali is qualified to offer that
   5                                             opinion. Ms. Tekbali has never held a
   6                                             position in a correctional facility, has
                                                 no experience in correctional
   7                                             healthcare delivery, and has never been
   8                                             past the administrative area in any
                                                 federal, state, county, or municipal
   9                                             correctional institution. Id. at 4-6
  10                                             (Tekbali Depo. 10:19-21, 12:4-13:3).
                                                 She is also not a medical doctor. Id. at
  11
                                                 4 (Tekbali Depo. 10:16-18. She
  12                                             graduated from her Masters Program in
                                                 2019 and has since only had one
  13
                                                 position in the field of infection
  14                                             prevention, which she began in August
                                                 2019. Id. at 3 (Tekbali Depo. 9:19-25);
  15
                                                 Tekbali Decl. ¶ 2 (Dkt. No. 138-4).
  16
        8. COVID-19 infection rates              NOT DISPUTED.
  17    increased throughout California from
  18    November 2020 through February
        2021.
  19
  20    9. Los Angeles County experienced        NOT DISPUTED.
  21    over 1.2 million confirmed COVID-19
        cases to date.
  22
  23    10. California has had over 3.7          NOT DISPUTED.
  24    million total confirmed positives to
        date.
  25
  26    11. Respondents retained                 DISPUTED. Respondents have
  27    epidemiologist Asma Tekbali to opine     proposed an opinion, not a fact.
        as an expert on FCI Terminal Island’s    Moreover, Petitioners dispute the facts
  28
                                                6
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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   1
        DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                             RESPONSES
   3
        infection control and testing              upon which Ms. Tekbali’s belief is
   4    procedures.                                based and dispute that Ms. Tekbali is
   5                                               qualified to opine as an expert on
                                                   Terminal Island’s infection control
   6                                               practices. See DF 7.
   7
   8    12. Epidemiologist Asma Tekbali            DISPUTED. Respondents have
        believes that in contrast to the           proposed an opinion, not a fact.
   9    uncontrolled winter spread of COVID-       Moreover, Petitioners dispute the facts
  10    19 in California, COVID-19 cases were      upon which Ms. Tekbali’s belief is
        well controlled over the December-         based and dispute that Ms. Tekbali is
  11    January period at FCI Terminal Island      qualified to opine as an expert on
  12    as no major outbreak emerged.              Terminal Island’s infection control
                                                   practices. See DF 7. Moreover, there is
  13                                               no way to accurately determine
  14                                               whether COVID-19 cases were truly
                                                   “well controlled” during this time
  15                                               period. Several class members sought
  16                                               medical care for flu-like symptoms in
                                                   November of 2020 but were denied a
  17                                               COVID test, suggesting that
  18                                               Respondents artificially suppressed the
                                                   number of positive cases by refusing to
  19                                               test symptomatic patients. Declaration
  20                                               of Maurice Smith (“Smith Decl.”) ¶ 4;
                                                   Declaration of Daniel Chavez (“Chavez
  21                                               Decl.”) ¶ 4.
  22
  23    13. Epidemiologist Asma Tekbali            DISPUTED. Respondents have
        believes that no major outbreak            proposed an opinion, not a fact.
  24    emerged within FCI Terminal Island in      Moreover, Petitioners dispute the facts
  25    early 2021, and nothing comparable to      upon which Ms. Tekbali’s belief is
        the rates of infection that experienced    based and dispute that Ms. Tekbali is
  26    in Southern California over that period.   qualified to opine as an expert on
  27                                               Terminal Island’s infection control
  28
                                                   7
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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   1
        DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                              RESPONSES
   3
                                                    practices. See DF 7.
   4
   5    14. Epidemiologist Asma Tekbali             DISPUTED. Respondents have
   6    believes that the lack of a major           proposed an opinion, not a fact.
        outbreak at FCI Terminal Island in          Moreover, Petitioners dispute the facts
   7    December 2020-January 2021 despite          upon which Ms. Tekbali’s belief is
   8    the uncontrolled cases outside the          based and dispute that Ms. Tekbali is
        facility in California during that period   qualified to opine as an expert on
   9    provides further proof that the infection   Terminal Island’s infection control
  10    control measures FCI Terminal Island        practices. See DF 7.
        implemented have been effective and
  11    proper.
  12
  13    15. FCI Terminal Island began               DISPUTED. Respondents have not
        screening inmates for COVID-19              consistently conducted contact
  14    symptoms beginning in March 2020.           investigations, isolated patients, or
  15                                                screened and tested positive contacts. A
                                                    report published by the Office of the
  16                                                Inspector General (OIG) in January
  17                                                2021 detailed the failures of Terminal
                                                    Island’s early pandemic response.
  18
  19                                                The OIG noted that after ignoring the
                                                    flu-like symptoms of many of those
  20                                                incarcerated for weeks, Respondents
  21                                                conducted an institution-wide testing
                                                    only after “nearly half of the inmate
  22                                                population was already infected.”
  23                                                Declaration of Naeun Rim (“Rim
                                                    Decl.”) Ex. 15 at 4 (OIG Report p. ii).
  24                                                The OIG further noted that even after
  25                                                Respondents received test results, they
                                                    still housed over 100 people with
  26                                                negative COVID-19 tests alongside
  27                                                over 100 more who had positive

  28
                                                    8
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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   1
        DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                          RESPONSES
   3
                                                COVID-19 tests. Id.
   4
                                                Problems with symptom screening
   5                                            continue to the present day. Recently,
   6                                            class members housed in A-Unit asked
                                                to be tested for COVID-19 after
   7                                            experiencing flu-like symptoms, but
   8                                            they were turned away and refused a
                                                test because their fevers were not high
   9                                            enough. Smith Decl. ¶ 7; Declaration
  10                                            of Marcus Tsingine (“Tsingine Decl.”)
                                                ¶¶ 4-7; Chavez Decl. ¶ 7; Declaration
  11
                                                of Christopher Miller (“Miller Decl.”)
  12                                            ¶¶ 3-6.
  13                                            Failures to test are ongoing as well.
  14                                            Due to lack of space in the quarantine
                                                unit, some new arrivals have told
  15                                            witnesses they were moved to the
  16                                            general population without being
                                                tested. Declaration of Thomas Bentley
  17                                            (“Bentley Decl.”) ¶¶ 8, 9. Class
  18                                            members report that tests are delayed
                                                or are not provided unless patients have
  19                                            a fever. Declaration of Claud Koerber
  20                                            (“Koerber Decl.”) ¶ 19; Chavez Decl.
                                                ¶¶ 4, 7; Smith Decl. ¶ 7.
  21
                                                Several class members report that a
  22
                                                group of men from the A-Unit were
  23                                            recently denied a COVID test despite
                                                exhibiting COVID-symptoms. Chavez
  24
                                                Decl. ¶ 7; Smith Decl. ¶ 7. Days after
  25                                            some of those men were transferred to
  26                                            the D-Unit, the D-Unit began reporting
                                                positive cases and was put on
  27                                            lockdown. Chavez Decl. ¶ 7; Smith
  28
                                               9
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                             RESPONSES
    3
                                                    Decl. ¶ 7.
    4
    5    16. The first confirmed case of            DISPUTED. The first confirmed case
    6    COVID-19 at FCI Terminal Island was        of COVID-19 at FCI Terminal Island
         on April 10, 2020.                         amongst staff was on April 5, 2020.
    7                                               The first confirmed case of COVID-19
    8                                               at FCI Terminal Island amongst
                                                    incarcerated people was April 10,
    9                                               2020. See Rim Decl. Ex. 15 at 5 (OIG
  10                                                Report at iii).

  11
         17. In April 2020, it was difficult for    NOT DISPUTED.
  12     any institution to obtain COVID-19
  13     tests, let alone in large numbers.
  14
         18. With the assistance of the Los         DISPUTED. Respondents have not
  15     Angeles County Department of Public        consistently conducted contact
  16     Health (LACDPH”), FCI Terminal             investigations, isolated patients, or
         Island tested all inmates for COVID-19     screened and tested positive contacts.
  17     starting on April 23, 2020.                See DF 15.
  18
  19     19. The LACDPH provided the BOP            NOT DISPUTED.
         with the testing kits and nasal swabs
  20     needed to conduct these mass tests and
  21     the LACDPH laboratory processed all
         of the tests.
  22
  23     20. After the results of the initial       DISPUTED. Respondents have not
  24     round of tests were received from          consistently conducted contact
         LACDPH, inmates testing positive           investigations, isolated patients, or
  25
         were separated from those who tested       screened and tested positive contacts.
  26     positive and the positive inmates were     See DF 15.
         isolated.
  27
  28
                                                   10
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                            RESPONSES
    3
    4    21. The BOP repeatedly re-tested the      DISPUTED. Respondents have not
         negative inmates repeatedly from May-     consistently conducted contact
    5    July 2020, until, in consultation with    investigations, isolated patients, or
    6    the LACDPH, it was determined that        screened and tested positive contacts.
         these regular re-tests were no longer     See DF 15.
    7    necessary.
    8
    9    22. Since the mass testing in April       DISPUTED. Respondents have not
         and May of 2020, inmate testing at FCI    consistently conducted contact
  10
         Terminal Island has been conducted in     investigations, isolated patients, or
  11     accordance with the BOP’s COVID-10        screened and tested positive contacts.
         Pandemic Response Plan Module 3,          See DF 15.
  12
         Screening and Testing.
  13
  14     23. Section 2 of Module 3 of the          NOT DISPUTED.
         COVID-19 Pandemic Response Plan
  15
         requires that symptomatic inmates be
  16     isolated and tested expeditiously and
         asymptomatic inmates with known or
  17
         suspected contact with a COVID-19
  18     case be quarantined and tested
  19     expeditiously.

  20
         24. Section 2 of Module 3 of the          NOT DISPUTED.
  21     COVID-19 Pandemic Response Plan
  22     provides that expanded testing of all
         inmates in an entire open bay housing
  23     unit should be considered as part of a
  24     robust contact tracing.

  25
         25. FCI Terminal Island continues to      DISPUTED Respondents have not
  26     conduct testing in accordance with the    consistently conducted testing for
  27     BOP’s testing protocols, which include    incoming incarcerated people. See DF
         testing all incoming and outgoing         15. At least one new arrival has told a
  28
                                                  11
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                               RESPONSES
    3
         inmates in accordance with BOP               class member attests that they were
    4    Pandemic Response Plan Module 4,             moved to the general population
    5    Inmate Isolation and Quarantine.             without being tested. Bentley Decl. ¶¶
                                                      8, 9.
    6
    7    26. FCI Terminal Island also has             NOT DISPUTED.
    8    protocols to determine when to test
         inmates within the institution’s general
    9    population because of contact
  10     investigation.

  11
         27. The testing of all inmates               DISPUTED. Terminal Island does not
  12     releasing or transferring out of FCI         conduct surveillance testing, which the
  13     Terminal Island serves as random             BOP defines as “testing all inmates at
         surveillance testing of the institution’s    an institution without any known
  14     general population.                          COVID-19 cases.” Morrison Decl.,
  15                                                  Ex. 1 (Dkt. No. 138-2) (BOP’s
                                                      COVID-19 Pandemic Response Plan
  16                                                  Module 3, Screening and Testing, at
  17                                                  page 7); see also Dkt. No. 74-1 (Report
                                                      of Dr. Michael Rowe) (Court Expert
  18                                                  opining that surveillance testing is not
  19                                                  being done at Terminal Island).
  20
         28. As part of intake procedures, all        DISPUTED. Respondents have not
  21     inmates who entered FCI Terminal             consistently conducted testing and
  22     Island after the initial outbreak entered    quarantining for incoming incarcerated
         quarantine units and were tested as          people. See DFs 15, 25.
  23     determined by existing BOP testing
  24     protocols.
  25
         29. After the spring outbreak, when          DISPUTED. Respondents have not
  26     inmate movement resumed, FCI                 consistently conducted testing and
  27     Terminal Island tested all incoming          quarantining for incoming incarcerated
         inmates, isolated positive inmates,
  28
                                                     12
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                         PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                                 RESPONSES
    3
         quarantined negative inmates, and re-          people. See DF 15.
    4    tested quarantined inmates on or after
    5    the 14th day of their quarantine period.

    6
         30. These inmates were transferred             DISPUTED. Respondents have not
    7    into the institution’s general population      consistently conducted testing and
    8    only if they either had cleared                quarantining for incoming incarcerated
         quarantine by having a repeated                people. See DF 15.
    9    negative test result or, if positive, after
  10     completing the isolation period and
         being cleared by medical staff.
  11
  12     31. Incoming inmates have no                   DISPUTED. Respondents have not
  13     contact with inmates in the institution’s      consistently conducted testing and
         general population until they clear            quarantining for incoming incarcerated
  14     quarantine or isolation.                       people. See DFs 15, 25.
  15
  16     32. As of July 26, 2021, FCI                   NOT DISPUTED.
         Terminal Island has conducted over
  17     2,704 COVID-19 tests on the 705
  18     inmates at Terminal Island. These
         results do not include testing that was
  19     conducted at outside facilities.
  20
  21     33. All ten of the FCI Terminal                NOT DISPUTED.
         Island inmates who died of COVID-
  22     related illness contacted [sic] the
  23     disease during the April-May 2020
         outbreak at FCI Terminal Island.
  24
  25
         34. FCI Terminal Island has not had            NOT DISPUTED.
  26     an inmate hospitalized for COVID-
         related illness since August 20, 2020.
  27
  28
                                                       13
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                               RESPONSES
    3
    4    35. From January 2021 through July NOT DISPUTED. Terminal Island’s
         19, 2021, FCI Terminal Island did not testing practices are inadequate,
    5    have a single lab confirmed COVID-19 however. See DF 15.
    6    case in its general population.
    7
         36. Victoria Morrison believes that          DISPUTED. Respondents have
    8
         FCI Terminal Island has prevented            proposed an opinion, not a fact.
    9    further COVID-19 deaths,                     Moreover, Petitioners dispute the facts
         hospitalization, and large scale             upon which Ms. Morrison’s belief is
  10
         outbreaks, like the one that occurred in     based. See DF 1.
  11     the Spring of 2020, by implementing a
         host of measures, including broad-
  12
         based testing and adherence to
  13     evolving CDC guidelines for infection
         prevention and control (such as
  14
         cohorting and isolation procedures
  15     enacted after testing all inmates).
  16
         37. There are currently 13 inmate            DISPUTED that testing was prompt.
  17
         positive cases at FCI Terminal Island,       Petitioners have cause to believe
  18     which were detected after three inmates      Respondents’ testing practices are
  19     in one housing unit were promptly            inadequate. See DF 15. Several class
         tested after reporting symptoms.             members testify that they were refused
  20                                                  a test despite reporting COVID-19
  21                                                  symptoms. Smith ¶ 4; Chavez ¶ 4.

  22
         38. Even though five inmates were            NOT DISPUTED.
  23     symptomatic, after successive rounds
  24     of testing their entire housing unit, FCI
         Terminal Island identified eight
  25     asymptomatic cases.
  26
  27     39. All of these inmates have been           NOT DISPUTED.
         isolated and are receiving daily
  28
                                                     14
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                        PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                                RESPONSES
    3
         symptom screenings.
    4
    5    40. None of these inmates with newly NOT DISPUTED.
    6    identified COVID-19 cases has been
         hospitalized.
    7
    8    41. Of the thirteen inmates who are      NOT DISPUTED.
    9    positive, seven had refused the vaccine,
         two were identified as COVID-
  10     recovered and refused vaccination, and
  11     four were vaccinated.
  12
         42. After repeated testing, FCI               DISPUTED. Class members testify
  13     Terminal Island has verified that the         that multiple housing units are now on
  14     cases have been contained within a            quarantine. Decl. Smith ¶ 6; Decl.
         single housing unit.                          Chavez ¶¶ 7-8; Koerber Decl. ¶ 11.
  15                                                   Petitioners have cause to believe
  16                                                   Respondents’ testing practices are
                                                       inadequate. See DF 15.
  17
  18     43. FCI Terminal Island has two               DISPUTED. According to the BOP’s
  19     current staff cases, one involving an         website, 6 FCI Terminal Island staff
         individual who had had [sic] not been         members were positive for COVID-19
  20     to the institution since July 1 and tested    as of August 9, 2021. See
  21     positive on July 13, and another              https://www.bop.gov/coronavirus/.
         involving a correctional officer.
  22
  23     44. After the entire housing unit that        NOT DISPUTED.
  24     officer had worked in was tested, there
         were no positive cases in that housing
  25
         unit.
  26
  27     45. The BOP’s COVID-19 Pandemic               NOT DISPUTED.
         Response Plan, Module 11, Employee
  28
                                                      15
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                        PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                                RESPONSES
    3
         Management, provides guidance for
    4    staff testing, including the
    5    identification of testing sites in the
         local community, requiring staff who
    6    test positive to report their diagnosis to
    7    the BOP, and indications and priorities
         for testing.
    8
    9    46. The BOP’s Pandemic Response           NOT DISPUTED.
  10     Plan requires staff to report positive
         test results, requires asymptomatic staff
  11     who test positive to wait at least 10
  12     days before reporting to work, and sets
         forth an algorithm for when
  13     symptomatic staff may return to work
  14     (with staff who have been hospitalized
         being required to wait at least 20 days
  15     since the appearance of symptoms
  16     before they return to work.
  17
         47. The BOP’s procedures do not               NOT DISPUTED.
  18     permit staff with positive test results to
  19     report to work until the appropriate
         CDC time-based guidance permits
  20     them to return.
  21
  22     48. As set forth in Section E of        NOT DISPUTED.
         Module 11 of the Pandemic Response
  23     Plan, the BOP has established a
  24     nationwide contract with Quest
         Diagnostics to facilitate COVID-19
  25     testing for all BOP employees,
  26     including those at FCI Terminal Island,
         via self-swab collection kits.
  27
  28
                                                      16
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                               RESPONSES
    3
    4    49. Staff members that meet                  NOT DISPUTED.
         indications for testing specified in
    5    Module 11 can obtain a collection kit
    6    from the institution, complete the test,
         and return it via Federal Express to the
    7    Quest Diagnostics labs for processing.
    8
    9    50. Staff at FCI Terminal Island have NOT DISPUTED.
         access to their test results through a
  10
         secure online portal provided by Quest
  11     Diagnostics.
  12
         51. Quest Diagnostics provides           NOT DISPUTED.
  13
         immediate notification to the staff
  14     member in the event of a positive test
         via a telephone call and overnight mail.
  15
  16
         52. FCI Terminal Island employees            NOT DISPUTED.
  17     are obligated to report positive test
  18     results and are directed not to report to
         work.
  19
  20     53. Quest Diagnostics also provides a NOT DISPUTED.
  21     nightly aggregate report of staff results
         to the BOP.
  22
  23     54. COVID-19 testing provided by             NOT DISPUTED.
  24     Quest Diagnostics is available at no
         charge to BOP staff.
  25
  26     55. Furthermore, as individuals              NOT DISPUTED.
  27     working in a prison, all FCI Terminal
         Island staff have access to COVID-19
  28
                                                     17
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                             RESPONSES
    3
         testing free of charge from dozens of
    4    other locations in the community,
    5    including Rite-Aid and CVS
         pharmacies and testing sites operated
    6    by the LACDPH.
    7
    8    56. FCI Terminal Island administered NOT DISPUTED.
         its first doses of the Pfizer COVID-19
    9    vaccine to inmates on December 28,
  10     2020.

  11
         57. Pursuant to the BOP’s COVID-19 NOT DISPUTED.
  12     Vaccine Guidance dated December 28,
  13     2020, vaccinations were offered to FCI
         Terminal Island staff first to decrease
  14     the possible introduction of COVID-19
  15     into the institution, and any remaining
         vaccinations were offered to FCI
  16     Terminal Island inmates.
  17
  18     58. As there were not enough               NOT DISPUTED.
         remaining doses to vaccinate all of the
  19     facility’s inmates in December 2020,
  20     the institution’s medical staff offered
         vaccinations to inmates as set forth in
  21     the BOP’s national guidance.
  22
  23     59. Priority for vaccination is based      NOT DISPUTED.
         upon the nature of the housing
  24     (prioritizing open bay over celled
  25     housing) and the inmate’s individual
         priority levels (1 – 4) which take into
  26     account whether inmates are health
  27     service unit workers, their age, and
         whether they meet the CDC criteria for
  28
                                                   18
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                              RESPONSES
    3
         being at increased risk for severe
    4    illness from COVID-19.
    5
    6    60. In offering vaccines to staff and       NOT DISPUTED.
         inmates in December 2020, FCI
    7    Terminal Island vaccinated 136 out of
    8    285 staff and 131 inmates.

    9
         61. Second doses were administered          NOT DISPUTED.
  10     from January 18-22, 2021 and two
  11     inmates that had received the first dose
         refused the second dose.
  12
  13     62. FCI Terminal Island received            NOT DISPUTED.
  14     another 200 doses of the vaccine in
         February and administered it between
  15     February 16-19, 2021 to 19 additional
  16     staff members and 167 inmates.
         Second doses were administered the
  17     week of March 15, 2021.
  18
  19     63. FCI Terminal Island received        NOT DISPUTED.
         another 120 doses of vaccine and
  20     administered it from April 19-23, 2021.
  21
  22     64. As of April 20, 2021, FCI               DISPUTED. At least one class
         Terminal Island had offered the             member, Maurice Smith, testifies that
  23     vaccine to all inmates. FCI Terminal        he has never been offered the vaccine.
  24     Island administered second doses from       Smith Decl. ¶ 8.
         this shipment on or around May 1,
  25
         2021.
  26
  27     65. All incoming inmates are offered        NOT DISPUTED.
         the COVID-19 vaccine at their intake
  28
                                                    19
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                              RESPONSES
    3
         to the facility upon arrival.
    4
    5    66. Additionally, any inmates who           DISPUTED. Respondents’
    6    previously refused the vaccine can          educational process is inadequate and
         change their mind and elect to receive      people do not have access to
    7    it.                                         personalized medical advice regarding
    8                                                the vaccine, rendering such a choice
                                                     not meaningfully available. See DF 68.
    9
  10     67. Since late May 2021, FCI           NOT DISPUTED.
  11     Terminal Island has been ordering
         vaccine doses as needed through an on-
  12     demand system that provides doses
  13     within 24 hours.
  14
         68. FCI Terminal Island has taken           DISPUTED. Class members are not
  15     robust measures to educate inmates          offered one-on-one sessions to educate
  16     about the COVID-19 vaccine. These           them regarding the vaccine; they are
         measures include: (1) posters and flyers    instead simply asked if they want the
  17     posted throughout the facility in           vaccine or not. See Smith Decl. ¶¶ 8-9;
  18     England and Spanish: (2) vaccine            Koerber Decl. ¶ 6; Miller Decl. ¶ 7.
         information on FCI Terminal Island’s        The emails provided by Respondents
  19     computer system used by inmates; (3)        give only “generalized information on
  20     town hall meetings about the vaccine;       the COVID vaccine, information taken
         (4) a 24-hour period where the only         from the CDC.” (Decl. Rim, Ex. 1 at 5-
  21     program inmates could watch on              6 (Morrison Depo. 28:8-29:2.) The
  22     televisions was a vaccine education         posters provide “small blurbs on the
         video broadcast throughout the              COVID vaccine.” (Id. 29:22-24.) There
  23     institution; (5) conducting vaccine         are no confidential settings to allow
  24     education during chronic case               people to ask questions about their
         encounters, urgent care encounters,         concerns with the vaccine. Leseman
  25     annual exams, and other healthcare          Decl. ¶ 10; Miller Decl. ¶ 10; Smith
  26     visits; (6) conducting one-on-one           Decl. ¶¶ 8-9; Declaration of Edgar
         vaccine engagement with all inmates         Vasquez (“Vasquez Decl,”) ¶ 6;
  27     who refused the vaccine; and (7)            Declaration of Eric Pulido-Muzquiz
  28
                                                    20
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                            RESPONSES
    3
         conducting one-on-one sessions with       (“Pulido-Muzquiz Decl.”) ¶ 9; Koerber
    4    the two visually impaired inmates at      Decl. ¶¶ 5, 7. Some people with long
    5    FCI Terminal Island.                      COVID symptoms have not had an
                                                   opportunity to speak with medical staff
    6                                              about the vaccine. See Smith Decl. ¶ 9;
    7                                              Koerber Decl. ¶¶ 5, 16. Still others
                                                   have stated that they have specific
    8                                              health concerns that make them
    9                                              worried about getting the vaccine in the
                                                   absence of specific medical advice that
  10                                               is unavailable to them. See Chavez
  11                                               Decl. ¶ 18; Koerber Decl., ¶¶ 5, 7;
                                                   Pulido-Muzquiz Decl. ¶¶ 8, 9.
  12
  13     69. FCI Terminal Island has the           NOT DISPUTED.
  14     ability to translate vaccine education
         materials into any language that is
  15     needed and one of the Infectious
  16     Disease Nurses at FCI Terminal Island
         speaks Spanish.
  17
  18     70. Each time an inmate is offered        DISPUTED. See DF 68.
  19     the vaccine, he has the opportunity to
         ask questions about the vaccine.
  20
  21     71. FCI Terminal Island has created a     NOT DISPUTED. But this measure
  22     form that inmates may fill out to ask     has either not been communicated to
         questions about the vaccine or to         patients or has proved inadequate in
  23     request the vaccine. The form goes        practice. See DF 68.
  24     directly to FCI Terminal Island’s
         Infectious Disease Nurses for follow
  25     up.
  26
  27     72. As a result of FCI Terminal           NOT DISPUTED.
         Island’s vaccine engagement efforts,
  28
                                                  21
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                             RESPONSES
    3
         approximately 53 inmates have
    4    reconsidered their prior vaccine
    5    refusals and have been vaccinated.

    6
         73. FCI Terminal Island has also          NOT DISPUTED.
    7    conducted extensive vaccine education
    8    for its staff, including emails, posters,
         screensavers, materials on the BOP’s
    9    intranet site available to employees,
  10     talks by the executive staff, videos, and
         talks given by the Warden in
  11     conjunction with union leadership.
  12
  13     74. As of July 26, 2021, FCI               NOT DISPUTED.
         Terminal Island has fully vaccinated
  14     409/705 (58%) of the inmates and
  15     192/285 (72%) of the staff. These
         figures do not include inmates or staff
  16     who received the vaccine elsewhere.
  17
  18     75. Of the 705 inmates housed at FCI NOT DISPUTED.
         Terminal Island as of July 26, 2021,
  19     563 (i.e., 80.1%) have either received
  20     at least one dose of a COVID-19
         vaccine, have recovered from COVID-
  21     19 per CDC Guidelines, or both.
  22
  23     76. Of the 300 inmates at FCI              NOT DISPUTED.
         Terminal Island who have never tested
  24     positive for COVID-19, 152 have been
  25     fully vaccinated, 8 have received their
         first dose of vaccine and are pending
  26     their second, 125 have refused, and 15
  27     are scheduled for their first dose.
  28
                                                   22
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                              RESPONSES
    3
    4    77. Overall, 259 inmates have refused NOT DISPUTED.
         the vaccine.
    5
    6    78. FCI Terminal Island has reduced         DISPUTED. Between May 15, 2020
    7    its population by 522 inmates since         and August 9, 2021, Terminal Island’s
         March 2020.                                 population has fallen by only 295—
    8
                                                     from 1,042 to 747. See AUF 19.
    9
  10     79. Of those, 78 were transferred to        DISPUTED. Terminal Island’s
         home confinement, 71 were granted           population has not decreased as much
  11
         compassionate release, 291 were             as Respondents claim. See DF 78.
  12     transferred to residential re-entry
         centers, and 82 were released.
  13
  14
         80. The BOP set temporary                   DISPUTED. The current population is
  15     population targets for low and              747. See AUF 19.
         minimum-security institutions with
  16
         open bay housing and is adhering to
  17     those targets. FCI Terminal Island’s
  18     current population of 704 inmates is
         below the revised COVID-19 target
  19     population set by the BOP.
  20
  21     81. Respondents’ expert Dr. Jeffrey         NOT DISPUTED.
         Beard visited and inspected FCI
  22     Terminal Island on September 10,
  23     2020. Dr. Beard then visited and
         inspected the facility again on June 23,
  24     2021, to assess its current operations
  25     and procedures.

  26
         82. Dr. Beard determined and opined         DISPUTED. The evidence shows
  27     that on September 10, 2020 and again        Terminal Island is not in compliance
  28
                                                    23
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                              RESPONSES
    3
         in June 2021, FCI Terminal Island was       with mask-wearing policies, namely
    4    in compliance with the BOP’s                that staff only wear masks during
    5    Pandemic Response Plan and CDC              inspections and around higher level
         Guidance for Correctional and               officials. See Court Expert Report, Dkt.
    6    Detention facilities, including enacting    No. 74-1 at 46 (“During my tour of the
    7    quarantine protocol, mask wearing, and      institution, there was general staff
         providing adequate soap.                    compliance with wearing cloth face
    8                                                coverings, however there were a
    9                                                number of instances when staff were
                                                     observed by me to be clustered closely
  10                                                 in a small group of 2‐4 individuals and
  11                                                 not all were wearing their masks over
                                                     their mouth and nose. Typically, when
  12                                                 they realized they were being observed,
  13                                                 they would pull their masks back up
                                                     into position. This was not observed
  14                                                 when they were in proximity to
  15                                                 residents”) (“Several members of the
                                                     incarcerated population mentioned
  16                                                 unprompted during their interviews
  17                                                 that, aside from the period of my visit,
                                                     there is frequent noncompliance with
  18                                                 masking by staff though this could not
  19                                                 be corroborated.”); see also Decl.
                                                     Koerber ¶ 13.
  20
                                                     Moreover, Respondents have proposed
  21
                                                     an opinion, not a fact. Moreover,
  22                                                 Petitioners dispute the facts upon
                                                     which Dr. Beard’s belief is based, that
  23
                                                     he is qualified to offer this opinion, and
  24                                                 that he has an adequate foundation to
  25                                                 offer it. See DF 6.

  26
         83. Dr. Beard determined and opined         DISPUTED. Respondents have
  27     that FCI Terminal Island continues to       proposed an opinion, not a fact.
  28
                                                    24
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                             RESPONSES
    3
         evolve its practices regarding COVID       Moreover, Petitioners dispute the facts
    4    mitigation as the CDC and the BOP’s        upon which Dr. Beard’s belief is based,
    5    policies and guidelines are revised.       that he is qualified to offer this opinion,
                                                    and that he has an adequate foundation
    6                                               to offer it. See DF 6.
    7
    8    84. Dr. Beard determined and opined        DISPUTED. Respondents have
         that FCI Terminal Island has an            proposed an opinion, not a fact.
    9    effective vaccination program in that      Moreover, Petitioners dispute the facts
  10     436 inmates and 189 staff have             upon which Dr. Beard’s belief is based,
         received the vaccine and all inmates       that he is qualified to offer this opinion,
  11     and staff had been offered the vaccine     and that he has an adequate foundation
  12     at the time of his visit.                  to offer it. See DF 6.

  13
         85. Dr. Beard determined and opined        DISPUTED. Respondents have
  14     that FCI Terminal Island’s vaccination     proposed an opinion, not a fact.
  15     rates are not unlike what has been         Moreover, Petitioners dispute the facts
         observed across the country and that       upon which Dr. Beard’s belief is based,
  16     staff rates were higher than other         that he is qualified to offer this opinion,
  17     systems.                                   and that he has an adequate foundation
                                                    to offer it. See DF 6.
  18
  19     86. Dr. Beard determined and opined        DISPUTED. Respondents have
  20     that throughout multiple inspections by    proposed an opinion, not a fact.
         several different inspectors (LACDPH,      Moreover, Petitioners dispute the facts
  21     Dr. Rowe, and two visits by Dr. Beard)     upon which Dr. Beard’s belief is based,
  22     from April 24, 2020 through June 23,       that he is qualified to offer this opinion,
         2021, FCI Terminal Island has been         and that he has an adequate foundation
  23     found to be in compliance with CDC         to offer it. See DF 6.
  24     Guidelines.
  25
         87. Ms. Tekbali bore the lead              NOT DISPUTED.
  26     responsibility as an Infection
  27     Preventionist at Lenox Hill Hospital-
         Northwell Health and her hospital was
  28
                                                   25
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                        PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                                RESPONSES
    3
         at the center of dealing with New York
    4    City’s COVID-19 crisis.
    5
    6    88. Ms. Tekbali determined and                DISPUTED. Respondents have
         opined that “FCI Terminal Island has          proposed an opinion, not a fact.
    7    continuously followed guidance from           Moreover, Petitioners dispute the facts
    8    the BOP and CDC for managing                  upon which Ms. Tekbali’s belief is
         COVID-19 in correctional facilities.”         based and dispute that Ms. Tekbali is
    9                                                  qualified to opine as an expert on
  10                                                   Terminal Island’s infection control
                                                       practices. See DF 7.
  11
  12     89. Ms. Tekbali determined and                DISPUTED. Respondents have
  13     opined that “the steps that the BOP           proposed an opinion, not a fact.
         took to respond to, and control FCI           Moreover, Petitioners dispute the facts
  14     Terminal Island’s outbreak went               upon which Ms. Tekbali’s belief is
  15     beyond CDC and BOP guidance and               based and dispute that Ms. Tekbali is
         the effectiveness of these actions are        qualified to opine as an expert on
  16     reflected today in the lack of major          Terminal Island’s infection control
  17     outbreaks at the facility.”                   practices. See DF 7.
  18
         90. Ms. Tekbali determined and                DISPUTED. Respondents have
  19     opined that “the recent small cluster of      proposed an opinion, not a fact.
  20     infections appears to not have spread         Moreover, Petitioners dispute the facts
         beyond the unit, indicating the current       upon which Ms. Tekbali’s belief is
  21     measures to reduce transmission have          based and dispute that Ms. Tekbali is
  22     been effective.”                              qualified to opine as an expert on
                                                       Terminal Island’s infection control
  23                                                   practices. See DF 7.
  24
  25     91. Ms. Tekbali determined and                DISPUTED. Respondents have
         opined that notes that [sic] the fact that    proposed an opinion, not a fact.
  26     80% of FCI Terminal Island’s inmate           Moreover, Petitioners dispute the facts
  27     population is either COVID-recovered          upon which Ms. Tekbali’s belief is
         or vaccinated provides a great                based and dispute that Ms. Tekbali is
  28
                                                      26
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
         DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
    2    PROPOSED FACT:                          RESPONSES
    3
         foundation for herd immunity.           qualified to opine as an expert on
    4                                            Terminal Island’s infection control
    5                                            practices. See DF 7.

    6
         92. Ms. Tekbali determined and          DISPUTED. Respondents have
    7    opined that “A new mass outbreak at     proposed an opinion, not a fact.
    8    the facility is highly unlikely.”       Moreover, Petitioners dispute the facts
                                                 upon which Ms. Tekbali’s belief is
    9                                            based and dispute that Ms. Tekbali is
  10                                             qualified to opine as an expert on
                                                 Terminal Island’s infection control
  11                                             practices. See DF 7.
  12
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         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1                                           II.
    2     PETITIONERS’ STATEMENT OF ADDITIONAL UNCONTROVERTED
    3                 FACTS AND SUPPORTING EVIDENCE
    4 A.         Office of the Inspector General (OIG) Review
    5
               PETITIONERS’ ADDITIONAL                    SUPPORTING EVIDENCE
    6        UNCONTROVERTED FACTS AND
    7        SUPPORTING EVIDENCE (“AUF”)

    8    1.     In January 2021, the Office of the     Rim Decl. Ex. 15 at 3 (OIG
    9    Inspector General published a report with its Report at i).
         findings from a remote inspection that had
  10     been undertaken between May 6 and June
  11     25, 2020, “to understand how the COVID-19
         pandemic affected [Terminal Island] and to
  12
         assess the steps Terminal Island officials
  13     took to prepare for, prevent, and manage
         COVID-19 transmission within the facility.”
  14
  15
         2.    According to the January 2021 OIG       Rim Decl. Ex. 15 at 4 (OIG
  16     Report, Terminal Island tested its entire     Report at ii).
  17     inmate population for COVID-19 in April
         2020, by which time “nearly half of its
  18     population was already infected.”
  19     3.     The OIG found that although Terminal Rim Decl. Ex. 15 at 4 (OIG
  20     Island staff said they were testing the inmate Report at ii).
         population so that they could isolate COVID-
  21     19 positive inmates from COVID-19
  22     negative inmates, “107 negative inmates in 2
         housing units remained housed with 129
  23     positive inmates in those units for between 4
  24     and 5 days after the institution received their
         test results.”
  25
  26 ///
  27 ///
  28
                                                28
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1 B.         Screening and Testing
    2
            PETITIONERS’ STATEMENT OF                     SUPPORTING EVIDENCE
    3      ADDITIONAL UNCONTROVERTED
    4     FACTS AND SUPPORTING EVIDENCE

    5    4.     On May 11 2020, more than 700            Plaintiff-Petitioners’ Complaint ¶
         people at Terminal Island (693 prisoners and    6 (Dkt. No. 1); Respondents’
    6    15 staff) had tested positive for COVID-19.     Answer to Complaint ¶ 6 (Dkt.
    7                                                    No. 98).

    8    5.    By June 21, 2020, at least ten            Rim Decl. Ex. 15 at 5 (OIG
         incarcerated people at Terminal Island had      Report at iii).
    9    died of COVID-19.
  10
  11     6.     In his report, the Court Expert warned   Court Expert Report at 40 (Dkt.
         that “[m]erely testing symptomatic staff and    No. 74-1).
  12     known close contacts is completely
  13     inadequate for identifying sources of
         infection which place the resident population
  14     at risk.”
  15
  16     7.     In his report, the Court Expert reported Court Expert Report at 14, 45, 28
         that multiple staff members had been allowed (Dkt. No. 74-1).
  17     to work for as many as six days following the
  18     onset of COVID-19 symptoms, and made a
         series of recommendations to address this
  19     issue.
  20
  21     8.     Symptom screenings may not detect        Rim Decl., Ex. 22 at 6 (CDC,
         staff with asymptomatic infections.             Interim Guidance for SARS-CoV-
  22                                                     2 Testing in Correctional and
  23                                                     Detention Facilities at 5)
                                                         (“Symptom screenings cannot
  24                                                     identify persons with COVID-19
  25                                                     who may be asymptomatic or
                                                         pre-symptomatic, and therefore
  26                                                     will not prevent all persons with
  27                                                     COVID-19 from entering the
                                                         facility”).
  28
                                                29
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                          DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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    1       PETITIONERS’ STATEMENT OF                          SUPPORTING EVIDENCE
    2      ADDITIONAL UNCONTROVERTED
          FACTS AND SUPPORTING EVIDENCE
    3
         9.     Respondents do not ask staff during           Rim Decl., Ex. 1 at 9 (Morrison
    4    the screening process if they have recently          Depo. at 83:2-5); Morrison Decl.
    5    been in close contact with a person known to         Ex 1, App. V (Dkt. 138-2 at 163)
         be infected with COVID-19.                           (BOP Screening Tool for Staff).
    6
    7    10. Respondents do not require staff                 Rim Decl., Ex. 1 at 11 (Morrison
    8    identified as close contacts of people infected      Depo. at 101:5-8) (“Q. If a staff
         with COVID-19 to undergo COVID-19                    person is identified as a close
    9    testing, even if that staff member if                contact [of a COVID-19 infected
  10     unvaccinated.                                        individual], are they required to
                                                              stay home and not report to work
  11                                                          for any period of time? A.
  12                                                          No.”); Id. at 11 (Morrison Depo.
                                                              at 101:9-11) (same policy even if
  13                                                          the staff person is unvaccinated);
  14                                                          Id. at 10 (Morrison Depo. at
                                                              100:18-25) (stating that those
  15                                                          staff members known to be close
  16                                                          contacts of infected individuals
                                                              are not tested); Id. at 11
  17                                                          (Morrison Depo. at 101:1-11)
  18                                                          (even unvaccinated staff
                                                              members who are close contacts
  19                                                          of infected individuals do not
  20                                                          need to be tested)); Morrison
                                                              Decl. Ex. 1 (Dkt. No. 138-2 at
  21                                                          116) (stating under “Guidance
  22                                                          for Staff with Potential Exposure
                                                              to COVID-19” that “[a] negative
  23
                                                              COVID-19 test is not required
  24                                                          for staff to return to work”).
  25     11. Respondents do not ask staff during      Rim Decl., Ex. 1 at 9 (Morrison
         screening whether they have been vaccinated. Depo. at 83:6-8)
  26
  27     12.          A person’s exposure to another who is   Rim Decl., Ex. 3 at 10 (Tekbali
  28
                                                      30
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                          DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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    1       PETITIONERS’ STATEMENT OF                       SUPPORTING EVIDENCE
    2      ADDITIONAL UNCONTROVERTED
          FACTS AND SUPPORTING EVIDENCE
    3
         known to be infected with COVID-19 is             Depo. 19:16-17.)
    4    clinical indication of the need for that person
    5    to be tested for COVID-19.
    6
    7
        C.       Healthcare and Mortality Reviews
    8
    9       PETITIONERS’ STATEMENT OF                       SUPPORTING EVIDENCE
           ADDITIONAL UNCONTROVERTED
  10      FACTS AND SUPPORTING EVIDENCE
  11
         13. In his report, the Court Expert found         Court Expert Report at 10 (Dkt.
  12     that Terminal Island had eight healthcare         No. 74-1).
         vacancies.
  13
  14
         14. In his report, the Court Expert           Court Expert Report at 21-22
  15     identified failures to track medical          (Dkt. No. 74-1).
         appointments and to track chronic conditions.
  16
  17
         15. In his report, the Court Expert               Court Expert Report at 69-70
  18     concluded that at least one of the ten            (Dkt. No. 74-1).
         COVID-19 related deaths was “avoidable,”
  19
         after a nurse’s request for a swallow test was
  20     ignored for days.
  21     16. The Court Expert noted that there was         Court Expert Report at 12 (Dkt.
         poor understanding of, and compliance with,       No. 74-1).
  22
         social distancing and face covering practices.
  23
  24     17. The Court expert noted that there was         Court Expert Report at 12 (Dkt.
         an inadequate “process for obtaining              No. 74-1).
  25
         replacement face coverings despite evidence
  26     for plentiful supplies.”
  27
  28
                                                  31
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                          DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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    1       PETITIONERS’ STATEMENT OF                           SUPPORTING EVIDENCE
    2      ADDITIONAL UNCONTROVERTED
          FACTS AND SUPPORTING EVIDENCE
    3
         18. The Court Expert concluded that           Court Expert Report at 11 (Dkt.
    4    despite “the appearance of calm,” “huge risks No. 74-1).
    5    remain” and “the potential for a devastating
         return of the outbreak remains.”
    6
    7
        D.       Quarantine and Isolation
    8
    9        PETITIONERS’ STATEMENT OF                          SUPPORTING EVIDENCE
            ADDITIONAL UNCONTROVERTED
  10       FACTS AND SUPPORTING EVIDENCE
  11
         19. Between July 26, 2021, and August 9,              https://www.bop.gov/
  12     2021, Terminal Island’s inmate population             locations/institutions/trm/
         increased by 42.                                      (reporting a population of 747
  13
                                                               as of August 9, 2021)
  14
         20. The CDC Guidance for correctional                 Rim Decl., Ex. 14 at 16 (CDC,
  15     facilities states that facilities should “[e]nsure    Interim Guidance on
         that medical isolation for COVID-19 is                Management of Coronavirus
  16
         distinct from punitive solitary confinement of        Disease 2019 (COVID-19) in
  17     incarcerated/detained individuals, both in            Correctional and Detention
         name and in practice.” Respondents fail to            Facilities at 15); Koerber Decl.
  18
         comply with this recommendation by                    ¶ 22; Chavez Decl. ¶ 11-12;
  19     handcuffing class members who report                  Bentley Decl. ¶¶ 10, 11.
         positive cases and sending them to solitary
  20
         confinement, as well as taking away phone
  21     and television privileges from units placed
         under quarantine.
  22
  23
        E.       Immunity and Risk
  24
  25       PETITIONERS’ STATEMENT OF
  26      ADDITIONAL UNCONTROVERTED                            SUPPORTING EVIDENCE
         FACTS AND SUPPORTING EVIDENCE
  27
         21.          Public health experts do not know       See Rim Decl., Ex. 20 (Andreano
  28
                                                      32
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                          DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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    1      PETITIONERS’ STATEMENT OF
    2     ADDITIONAL UNCONTROVERTED                          SUPPORTING EVIDENCE
         FACTS AND SUPPORTING EVIDENCE
    3
         how long natural immunity from COVID-19            & Rappuoli, SARS-CoV-2
    4    infection lasts.                                   escaped natural immunity,
    5                                                       raising questions about vaccines
                                                            and therapies)
    6
                                                            See Rim Decl., Exs. 20
    7                                                       (Andreano & Rappuoli, SARS-
    8    22. Public health experts do not know              CoV-2 escaped natural immunity,
         what degree of protection, if any, natural         raising questions about vaccines
    9    immunity from COVID-19 infection                   and therapies) and 21 (Karim &
  10     provides against new variants of the               de Oliveira, New SARS-CoV-2
         coronavirus.                                       Variants - Clinical, Public
  11                                                        Health, and Vaccine
  12                                                        Implications).
  13
  14 F.          Centers for Disease Control and Prevention (“CDC”) Guidelines
  15         PETITIONERS’ STATEMENT OF
  16        ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
           FACTS AND SUPPORTING EVIDENCE
  17
         23. The CDC has consistently
  18
         recommended prisons “actively encourage             Rim Decl., Ex. 14 at 6 (CDC,
  19     staff not to report to work when sick,” and         Interim Guidance on
         screen staff for symptoms upon entry into the       Management of Coronavirus
  20
         prison.                                             Disease 2019 (COVID-19) in
  21                                                         Correctional and Detention
                                                             Facilities at 5).
  22
  23     24.     The CDC “recommends verbal                  Rim Decl., Ex. 14 at 26 (CDC,
         screening and temperature checks for . . . staff    Interim Guidance on
  24     . . . who enter correctional and detention          Management of Coronavirus
  25     facilities,” and states the verbal screening        Disease 2019 (COVID-19) in
         should include the following question: “[i]n        Correctional and Detention
  26     the past 14 days, have you had close                Facilities at 25).
  27     contact with a person known to be infected
         with the novel coronavirus (COVID-19)?”
  28
                                                  33
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1        PETITIONERS’ STATEMENT OF
    2       ADDITIONAL UNCONTROVERTED                       SUPPORTING EVIDENCE
           FACTS AND SUPPORTING EVIDENCE
    3
    4
         25. The CDC recommends correctional               Rim Decl., Ex. 22 at 6 (CDC,
    5    facilities test “[a]ll persons with known or      Interim Guidance for SARS-
    6    suspected exposure to someone with COVID-         CoV-2 Testing in Correctional
         19, regardless of their COVID-19 vaccination      and Detention Facilities at 5).
    7    status.”
    8
    9                                                      Rim Decl., Ex. 19 at 3 (CDC,
         26. The CDC advises that “the risk of             Answering Patients’ Questions
  10     severe illness and death from COVID-19 far        About COVID-19 Vaccine and
  11     outweighs any benefits of natural immunity.”      Vaccination at 2).
  12
         27.    The CDC recommends “increasing             Rim Decl., Ex. 14 at 13 (CDC,
  13     incarcerated/detained persons’ telephone          Interim Guidance on
  14     privileges to promote mental health… .”           Management of Coronavirus
                                                           Disease 2019 (COVID-19) in
  15                                                       Correctional and Detention
  16                                                       Facilities at 12).
  17
  18 G.          Additional Facts

  19       PETITIONERS’ STATEMENT OF                       SUPPORTING EVIDENCE
  20      ADDITIONAL UNCONTROVERTED
         FACTS AND SUPPORTING EVIDENCE
  21
         28. The 7-day average of daily COVID-        https://www.nytimes.com/
  22     19 infections across the United States has   interactive/2021/us/covid-
  23     risen from 12,183 on July 1, 2021 to 110,360 cases.html, as of August 9, 2021.
         on August 8, 2021.
  24
         29. The 7-day average of daily COVID-            https://www.nytimes.com/
  25     19 infections in California has risen from       interactive/2021/us/covid-
  26     1,064 on July 1, 2021, to 13,366 on August       cases.html, as of August 9, 2021.
         8, 2021.
  27
         30.          According to the CDC, Los Angeles   Rim Decl., Ex. 18 at 2-3 (CDC,
  28
                                                    34
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    1      PETITIONERS’ STATEMENT OF                      SUPPORTING EVIDENCE
    2     ADDITIONAL UNCONTROVERTED
         FACTS AND SUPPORTING EVIDENCE
    3
         County currently has “high” community           COVID Data Tracker, COVID-
    4    transmission—the most severe category.          19 Integrated County View at 1-
    5                                                    2).
    6    31. The federal Receiver in charge of       Rim Decl., Ex. 13 at 6 (Report of
         medical care in California’s state prison   J. Clark Kelso, Receiver, at 3,
    7    system confirms that staff vaccination is a ECF p. 6).
    8    necessary measure to reduce risk of harm to
         incarcerated people: he has recommended all
    9    staff who work at the prisons be vaccinated
  10     (with appropriate medical and religious
         exemptions).
  11
         32. Based on science, data, and his             Rim Decl., Ex. 13 at 8-11 (Report
  12     experience to date of battling the pandemic,    of J. Clark Kelso, Receiver, at 5-
  13     the Receiver has determined that staff, the     8, ECF pp. 7-10); Rim Decl., Ex.
         primary vectors of infection, must be           12 at 4 (Declaration of Dr. Joseph
  14     vaccinated to prevent the spread of the Delta   Bick (“Bick Decl.”) ¶¶ 16-17).
  15     variant in the prisons and consequent risk of
         severe illness and death to incarcerated
  16     people.
  17     33. The federal Receiver concluded that         Rim Decl., Ex. 13 at 27 (Report
  18     “[w]ith the rate of vaccination unacceptably    of J. Clark Kelso, Receiver, at 24,
         low, the voluntary means of raising it          ECF p. 26); see also Rim Decl.,
  19     ineffective and insufficient, and an urgent     Ex. 12 at 7 (Bick Decl. ¶ 37).
  20     need to increase the vaccination rate in the
         face of the Delta variant, a mandatory
  21     vaccination policy is urgently required.”
  22     34. Unvaccinated institutional staff at the Rim Decl., Ex. 12 at 4 (Bick
  23     California Department of Corrections and    Decl. ¶ 19).
         Rehabilitation are tested weekly for COVID-
  24     19.
  25     35.    The Delta variant of SARS-CoV-2 is       Rim Decl. Ex. 13 at 20, Report of
  26     more than twice as transmissible as the         J. Clark Kelso, Receiver at 17;
         Wuhan strain. On average, a patient infected    Rim Decl. Ex. 12 at 6, Bick Decl.
  27     with the Delta variant sheds 1,000 times        ¶ 29; Rim Decl. Ex 16.
  28
                                                 35
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1      PETITIONERS’ STATEMENT OF                     SUPPORTING EVIDENCE
    2     ADDITIONAL UNCONTROVERTED
         FACTS AND SUPPORTING EVIDENCE
    3
         more virus than an average patient with an
    4    earlier strain. It has caused outbreaks even
    5    among populations with relatively high rates
         of vaccination.
    6
         36. Contact tracing worksheets produced        Rim Decl., Exs. 4-11 (FCI
    7    by Respondents continue to document staff      Terminal Island Contact Tracing
    8    members working for multiple days after        Worksheets: Ex. 7, BOP 8180-
         becoming symptomatic.                          8184 (symptom onset 11/25, last
    9                                                   day of work 11/27); Ex. 8, BOP
  10                                                    8199-8206 (symptom onset
                                                        12/10, last day of work 12/14);
  11                                                    Ex. 9, BOP 8222-8227 (symptom
  12                                                    onset 12/8, last day of work
                                                        12/14); Ex. 4, BOP 8118-8124
  13                                                    (symptom onset 12/28, last day
  14                                                    of work 1/1); Ex. 5, BOP 8140-
                                                        8145 (symptom onset 12/12, last
  15                                                    day of work 12/14)).
  16     37. Terminal Island is a Care Level Three Rim Decl. Ex. 1 at 3 (Morrison
  17     facility that houses prisoners who need long- Depo. at 15:13-18).
         term medical or mental health care, meaning
  18     the population at Terminal Island tends to be
  19     older and sicker than the average prison
         population.
  20
         38. Respondent’s expert Tekbali believes       Rim Decl., Ex. 3 at 9-10 (Tekbali
  21     staff who show any symptoms of COVID           Depo. 18:19-19:06).
  22     should report their symptoms and get a
         COVID test before reporting to work.
  23
         39. Based on data from the BOP, OIG            Rim Decl., Ex. 15 at 36, 38 (OIG
  24     estimated that as of April 12, 2020, 585 class Report at 29, 31).
  25     members were potentially eligible for home
         confinement under existing authorities and
  26     BOP guidance. As of June 1, 2020, only 23
  27     had been transferred to home confinement.
  28
                                                36
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                          DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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    1      PETITIONERS’ STATEMENT OF                    SUPPORTING EVIDENCE
    2     ADDITIONAL UNCONTROVERTED
         FACTS AND SUPPORTING EVIDENCE
    3
         40. Between March 1 and June 1, 2020,         Rim Decl., Ex. 15 at 39 (OIG
    4    Respondents received 244 compassionate        Report at 32).
    5    release requests. As of March 1, the warden
         recommend only 5 be approved. Between
    6    March 1 and June 1, the courts granted 13
    7    petitions for compassionate release.
    8    41. Requests for medical care by class
         members frequently go unanswered.             Chavez Decl. ¶¶ 6, 13, 15-17;
    9                                                  Koerber Decl. ¶¶ 8, 16; Leseman
  10                                                   Decl. ¶ 10; Vasquez Decl. ¶ 6;
                                                       Smith Decl. ¶¶ 3, 10.
  11
  12
         42. Full or partial quarantine lockdowns
  13     remain a consistent and repeated problem      Bentley Decl. ¶¶ 6-8; Chavez
         within Terminal Island due to Respondents’    Decl. ¶¶ 3, 8-9; Koerber Decl. ¶¶
  14
         failure to adequately control the spread of   11, 17; Miller Decl. ¶ 6; Smith
  15     the virus, depriving class members of even    Decl. ¶ 6.
  16     minimal programming opportunities.
  17     43. Because “California is currently
         experiencing the fastest increase in COVID-   Rim Decl., Ex. 23 at 2 (CDPH
  18     19 cases during the entire pandemic,” the     Order of August 5, 2021).
  19     California Department of Public Health
         (“CDPH”) now requires that all California
  20     workers in health care settings be
  21     vaccinated.
  22
         44. California has determined that
  23     “[v]accination against COVID-19 is the        Rim Decl., Ex. 23 at 2 (CDPH
  24     most effective means of preventing infection Order of August 5, 2021).
         with the COVID-19 virus, and subsequent
  25     transmission and outbreaks. As we respond
  26     to the dramatic increase in cases, all health
         care workers must be vaccinated to reduce
  27     the chance of transmission to vulnerable
  28
                                                37
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1      PETITIONERS’ STATEMENT OF                     SUPPORTING EVIDENCE
    2     ADDITIONAL UNCONTROVERTED
         FACTS AND SUPPORTING EVIDENCE
    3
         populations.”
    4
         45. According to the CDPH, there is
    5    significant need to protect people in           Rim Decl., Ex. 23 at 2 (CDPH
         ““[p]articularly high-risk settings where       Order of August 5, 2021).
    6
         COVID-19 outbreaks can have severe
    7    consequences for vulnerable populations
    8    including hospitalization, severe illness, and
         death,” which are characterized by “frequent
    9    exposure to staff and highly vulnerable
  10     patients, including elderly, chronically ill,
         critically ill, medically fragile, and disabled
  11     patients” and where “patients are at high risk
  12     of severe COVID-19 disease due to
         underlying health conditions, advanced age,
  13     or both.”
  14
  15     46. According to the CDPH, “workers”
         who must be vaccinated include “persons         Rim Decl., Ex. 23 at 3 (CDPH
  16     not directly involved in patient care, but who Order of August 5, 2021).
  17     could be exposed to infectious agents that
         can be transmitted in the health care setting.”
  18
         47. On August 5, 2021, California
  19     required that “all health care workers must   Rim Decl., Ex. 23 at 2 (CDPH
  20     be vaccinated to reduce the chance of         Order of August 5, 2021).
         transmission to vulnerable population.”
  21
         48. California requires those in high risk
  22     congregate living settings to verify each staff Rim Decl., Ex. 24 at 5 (CDPH
  23     person’s vaccination status and then            Order of July 26, 2021).
         implement mandatory COVID-19 testing at
  24     least weekly of all unvaccinated or
  25     incompletely vaccinated staff.
  26
  27
  28
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         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1                                             III.
    2       PETITIONERS’ RESPONSE TO RESPONDENTS’ CONCLUSIONS OF
    3                                           LAW
    4            1.    Summary judgment is proper where there is no genuine issue as to any
    5 material fact and the moving party is entitled to judgment as a matter of law. Fed. R.
    6 Civ. P. 56(a). A plaintiff must adduce evidence “sufficient to support a verdict in
    7 [his] favor on every element of [his] claim for which [he] will carry the burden of
    8 proof.” In re Apple Computer Sec. Litig., 886 F.2d 1109, 1113 (9th Cir. 1989).
    9            CONTESTED.
  10             Summary judgment is appropriate only when there is “no genuine dispute as
  11 to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
  12 R. Civ. P. 56(a). Any fact that “might affect the outcome of the suit under the
  13 governing law” is material. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
  14 (1986). The moving party on summary judgment bears the initial burden of
  15 “identifying those portions of the pleadings and discovery responses which
  16 demonstrate the absence of a genuine issue of material fact.” Cunningham v. City of
  17 Los Angeles, 2004 WL 502309, at *2 (C.D. Cal. Feb. 18, 2004) (citations omitted).
  18 In order to defeat a motion for summary judgment, the non-moving party need only
  19 demonstrate that there is any specific fact that presents “a genuine issue for trial.”
  20 Anderson, 477 U.S. at 250. In weighing the facts propounded by the respective
  21 parties, “the Court does not make credibility determinations or weigh conflicting
  22 evidence and draws all inferences in the light most favorable to the nonmoving
  23 party.” Cunningham, 2004 WL 502309, at *2 (citing T.W. Elec. Svc., Inc. v. Pacific
  24 Elec. Contractors Ass’n, 809 F.2d 626, 630–31 (9th Cir. 1987)).
  25
  26             2.    Reasonable efforts taken to reduce COVID-19 risk cannot rise to an
  27 Eighth Amendment violation even where those efforts were imperfect and the harm
  28
                                                  39
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1 imposed by COVID-19 was “ultimately not averted.” Wilson v. Williams, 961 F.3d
    2 829, 840 (6th Cir. 2020) (quoting Farmer, 511 U.S. at 844); Valentine v. Collier,
    3 956 F.3d 797, 801 (5th Cir. 2020); Swain v. Junior, 961 F.3d 1276, 1286 (11th Cir.
    4 2020); Cameron v. Bouchard, 815 Fed. Appx. 978, 986 (6th Cir. 2020) (rejecting
    5 plaintiffs’ attempts to distinguish Williams because their “argument at most shows
    6 that defendants’ response was imperfect”).
    7            CONTESTED.
    8            In Valentine v. Collier, 993 F.3d 270 (5th Cir. 2021), the Fifth Circuit
    9 declined to find prison officials deliberately indifferent because the court’s orders
  10 had “motivat[ed] the prison officials into action” and they had corrected the prison’s
  11 violations by the time of trial. Id. at 289 (footnote omitted). In Wilson v. Williams,
  12 961 F.3d 829 (6th Cir. 2020), the Sixth Circuit determined that the BOP responded
  13 reasonably to the outbreak at one prison through measures such as testing “in
  14 accordance with CDC guidance” and “continuous access to sinks, water, and soap.”
  15 Id. at 840-41. In Swain v. Junior, 961 F.3d 1276 (11th Cir. 2020), the district court
  16 order under review “relied overwhelmingly—if not exclusively” on two factors: the
  17 ongoing spread of COVID-19 and the impossibility of physical distancing at the jail.
  18 Id. at 1286. The Court of Appeals reversed because (1) the spread of COVID alone
  19 does not show a culpable state of mind, and (2) jail officials cannot be deliberately
  20 indifferent for failing to do the impossible. Id. at 1287. Each of these cases is
  21 distinguishable given the factual situation at Terminal Island.
  22
  23             3.    Broad latitude must be given to the local officials entrusted with
  24 protecting the health and safety of its citizens. Calvary Chapel Dayton Valley v.
  25 Sisolak, No. 19A1070, 2020 WL 4251360 (U.S. July 24, 2020); South Bay United
  26 Pentecostal Church v. Newsom, 140 S.Ct. 1613-1614 (May 29, 2020) (officials’
  27 decisions “should not be subject to second-guessing by an unelected federal
  28
                                                    40
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1 judiciary, which lacks the background, competence, and expertise to assess public
    2 health and is not accountable to the people.”)
    3            CONTESTED.
    4            The Eighth Amendment protects those in detention against conditions of
    5 confinement that are “very likely to cause serious illness and needless suffering.”
    6 Helling v. McKinney, 509 U.S. 25, 33 (1993) (“It would be odd to deny an
    7 injunction to inmates who plainly proved an unsafe, life threatening condition in
    8 their prison on the ground that nothing yet had happened to them.”). When prison
    9 authorities “strip [prisoners] of virtually every means of self-protection and
  10 foreclose[] their access to outside aid, [they] are not free to let the state of nature
  11 take its course.” Farmer v. Brennan, 511 U.S. 825, 834 (1994).
  12
  13             4.    In a conditions-of-confinement case, a prison official violates the
  14 prohibition against “cruel and unusual punishments,” U.S. Const. Amend. VIII,
  15 “only when two requirements”—one objective, the other subjective—“are met.”
  16 Farmer v. Brennan, 511 U.S. 825, 834, 846 (1994).
  17             NOT CONTESTED.
  18
  19             5.    To satisfy the Eighth Amendment standards, prison officials must
  20 ensure that inmates receive adequate food, clothing, shelter, and medical care, and
  21 must “take reasonable measures to guarantee the safety of the inmates.” Id. at 832.
  22             NOT CONTESTED.
  23
  24             6.    Inmates alleging Eighth Amendment violations based on unsafe prison
  25 conditions must demonstrate that prison officials were deliberately indifferent to
  26 their health or safety by subjecting them to a substantial risk of harm. Id. at 834.
  27             NOT CONTESTED.
  28
                                                    41
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1
    2            7.    Prison officials display a deliberate indifference to an inmate’s well-
    3 being when they consciously disregard an excessive risk of harm to the inmate’s
    4 health or safety. Id. at 838-40.
    5            NOT CONTESTED.
    6
    7            8.    It is “only ‘the unnecessary and wanton infliction of pain’ … [which]
    8 constitutes cruel and unusual punishment forbidden by the Eighth Amendment.
    9 Whitley v. Albers, 475 U.S. 612, 619 (1986) (quoting Ingraham v. Wright, 430 U.S.
  10 651, 670 28 (1977)).
  11             NOT CONTESTED.
  12
  13             9.    To obtain injunctive relief, Petitioners must demonstrate that “prison
  14 authorities’ current attitudes and conduct” meet the “high legal standard” of
  15 deliberate indifference, and will continue to do so in the future. Toguchi v. Chung,
  16 391 F.3d 1051, 1060 (9th Cir. 2004) (emphasis added); Farmer, 511 U.S. at 845.
  17             NOT CONTESTED.
  18
  19             10.   The “objective prong” of the Eighth Amendment requires a showing
  20 that an inmate has been deprived “of the minimal civilized measure of life’s
  21 necessities.’” Farmer, 511 U.S. at 834.
  22             NOT CONTESTED.
  23
  24             11.   Petitioners cannot show that the BOP is depriving them of the
  25 “minimal civilized measure of life’s necessities” or “violating contemporary
  26 standards of decency” in addressing the risk of harm to inmates that COVID-19
  27 presents.
  28
                                                    42
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1            CONTESTED.
    2            This is not a statement of law, but is instead a conclusory assertion about the
    3 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
    4 motion sets out the reasons why this statement is false.
    5
    6            12.   “A prison official’s duty under the Eighth Amendment is to ensure
    7 reasonable safety.” Farmer, 511 U.S. at 844.
    8            NOT CONTESTED.
    9
  10             13.   Petitioners cannot meet the objective prong of the deliberate
  11 indifference standard because FCI Terminal Island’s response is aligned with
  12 official guidance from leading world health authorities for mitigating the risks
  13 associated with the pandemic. FCI Terminal Island has vastly decreased any risk of
  14 outbreak by adhering to the CDC guidelines. Measures including staff screening,
  15 mask wearing, and testing and quarantine procedures for newly arriving inmates
  16 have kept new COVID-19 cases at bay.
  17             CONTESTED.
  18             This is not a statement of law, but is instead a conclusory assertion about the
  19 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  20 motion sets out the reasons why this statement is false.
  21
  22             14.   FCI Terminal Island’s COVID-19 practices are the same measures that
  23 society deems capable of reducing the risk of COVID-19 transmission, and thus
  24 reflect the manner in which “today’s society chooses to tolerate” that risk. Helling,
  25 509 U.S. at 36; Grinis, 2020 WL 2300313, at *3 (“These affirmative steps may or
  26 may not be the best possible response to the threat of COVID-19 within the
  27 institution, but they undermine an argument that the respondents have been
  28
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         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1 actionably deliberately indifferent to the health risks of inmates.”); Nellson, 2020
    2 WL 3000961, at *8 (finding no likelihood of success on merits of Eighth
    3 Amendment conditions-of-confinement claim due to COVID-19 and noting that
    4 “[c]ompliance with CDC protocols does not demonstrate that defendants are
    5 disregarding a substantial risk to inmate health or failing to respond reasonably to
    6 the risks of COVID-19”).
    7            CONTESTED.
    8            This is not a statement of law, but is instead a conclusory assertion about the
    9 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  10 motion sets out the reasons why this statement is false.
  11
  12             15.   “[A] mere difference of medical opinion is insufficient, as a matter of
  13 law, to establish deliberate indifference.” Toguchi v. Chung, 391 F.3d 1051, 1058
  14 (9th Cir. 2004) (internal quotations marks and citation omitted)).
  15             NOT CONTESTED.
  16
  17             16.   An inmate who the BOP offers “the ability and opportunity to take
  18 measures to markedly reduce [their] risk of severe illness or death from COVID-19
  19 while incarcerated,” but who rejects such measures, cannot reasonably continue to
  20 accuse the BOP of being indifferent to their COVID-19 risk, to the point of violating
  21 the Eighth Amendment by inflicting cruel and unusual punishment on them.
  22             CONTESTED.
  23             This is not a statement of law, but is instead a conclusory assertion about the
  24 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  25 motion sets out the reasons why this statement is false.
  26
  27             17.   Petitioners also fail to satisfy the subjective prong of their Eighth
  28
                                                    44
         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1 Amendment claim, which requires them to show that Respondents “kn[ew] of and
    2 disregard[ed] an excessive risk to inmate health or safety.” Farmer, 511 U.S. at 837.
    3            CONTESTED.
    4            This is not a statement of law, but is instead a conclusory assertion about the
    5 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
    6 motion sets out the reasons why this statement is false.
    7
    8            18.   The subjective prong requires that “the official must both be aware of
    9 facts from which the inference could be drawn that a substantial risk of serious harm
  10 exists, and he must also draw the inference.” Id.
  11             NOT CONTESTED.
  12
  13             19.   The Eighth Amendment does not require perfect results. See id. at 844
  14 (“prison officials who actually knew of a substantial risk to inmate health or safety
  15 may be found free from liability if they responded reasonably to the risk, even if the
  16 harm ultimately was not averted”).
  17             NOT CONTESTED.
  18
  19             20.   Petitioners cannot demonstrate that BOP officials currently are acting
  20 with deliberate indifference and cannot show that today, Respondents are recklessly
  21 disregarding an excessive risk to Petitioners’ safety, and that they will continue to
  22 do so “into the future.” Id. at 845.
  23             CONTESTED.
  24             This is not a statement of law, but is instead a conclusory assertion about the
  25 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  26 motion sets out the reasons why this statement is false.
  27
  28
                                                    45
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    1            21.   Where a prisoner “seeks injunctive relief to prevent a substantial risk of
    2 serious injury from ripening into actual harm, the subjective factor . . . should be
    3 determined in light of the prison authorities’ current attitudes and conduct[.]” Id. at
    4 845 (internal quotation marks omitted).
    5            NOT CONTESTED.
    6
    7            21.1 BOP officials have not acted with deliberate indifference to the risk that
    8 COVID-19 poses to inmate populations; rather, they have taken aggressive and
    9 appropriate measures to abate that risk at FCI Terminal Island.
  10             CONTESTED.
  11             This is not a statement of law, but is instead a conclusory assertion about the
  12 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  13 motion sets out the reasons why this statement is false.
  14
  15             22.   Although Petitioners and Respondents have minor fact disputes over
  16 the implementation about these measures, even if Petitioners’ allegations are true, it
  17 does not rise to the level of deliberate indifference. See Wragg, 2020 WL 2745247,
  18 at *21 (no Eighth Amendment violation because there is “no evidence of
  19 Respondents’ liable state of mind” and noting “physical distancing is not possible in
  20 a prison setting, as Petitioners urge, does not an Eighth Amendment claim make
  21 and, as such, Petitioners are not likely to succeed on the merits”); Money v. Pritzker,
  22 453 F.Supp.3d at 1131 (prisoner petitioners have “no chance of success” as to
  23 deliberate indifference because of the measures taken by the Illinois Department of
  24 Corrections).
  25
  26
        Respondents’ Proposed Conclusions Of Law contained two entries numbered 21.
        1
  27 See Dkt. No. 251-1 at 26-27.
  28
                                          46
            PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1            CONTESTED.
    2            This is not a statement of law, but is instead a conclusory assertion about the
    3 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
    4 motion sets out the reasons why this statement is false.
    5
    6            23.   Petitioners cannot succeed on their Eighth Amendment claim given the
    7 actions taken by the BOP at FCI Terminal Island. See Farmer, 511 U.S. at 845
    8 (“[P]rison officials who act reasonably cannot be found liable under the Cruel and
    9 Unusual Punishments Clause.”). There is no dispute of material fact that
  10 Respondents acted with a high degree of care, and were not acting with deliberate
  11 indifference that would transform conditions at FCI Terminal Island into an Eighth
  12 Amendment “punishment.”
  13             CONTESTED.
  14             This is not a statement of law, but is instead a conclusory assertion about the
  15 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  16 motion sets out the reasons why this statement is false.
  17
  18             24.   The evidence demonstrates that Respondents acted with an extremely
  19 high degree of care, and certainly were not acting with deliberate indifference that
  20 would transform conditions at FCI Terminal Island into an Eighth Amendment
  21 “punishment.” See Wilson v. Seiter, 501 U.S. 294, 298, 300 (1991).
  22             CONTESTED.
  23             This is not a statement of law, but is instead a conclusory assertion about the
  24 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  25 motion sets out the reasons why this statement is false.
  26
  27             25.   Petitioners have failed to exhaust administrative remedies and may not
  28
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         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1 bring suit for further injunctive relief regarding FCI Terminal Island’s response to
    2 COVID-19 until they have fulfilled the PLRA’s exhaustion requirements. Maronyan
    3 v. Toyota Motor Sales, USA, Inc., 658 F.3d 1038, 1041-42 (9th Cir. 2011).
    4            CONTESTED.
    5            As this Court has stated, the “PLRA does not require exhaustion when
    6 circumstances render administrative remedies ‘unavailable.’” (Dkt. 58 at 10.) The
    7 PLRA requires only exhaustion of administrative remedies “as are available.” Sapp
    8 v. Kimbrell, 623 F.3d 813, 822 (9th Cir. 2010), superseded by statute on other
    9 grounds as stated in Avery v. Paramo, No. 13-cv-2261 BTM, 2015 WL 4923820, at
  10 *14 (S.D. Cal. Aug. 18, 2015). The Supreme Court explained that the circumstances
  11 in which an administrative remedy is unavailable include “when (despite what
  12 regulations or guidance may promise) it operates as a simple dead end—with
  13 officers unable or consistently unwilling to provide any relief to aggrieved inmates”
  14 or “when prison administrators thwart inmates from taking advantage of a grievance
  15 process.” Ross v. Blake, 136 S. Ct 1850, 1859–60 (2016).
  16             This Court previously determined that Petitioners “were thwarted” from
  17 pursuing administrative remedies based on similar evidence that prison staff were
  18 “not accepting grievance forms” and “not addressing [Petitioners’] complaints.”
  19 (Dkt. 58 at 11.) There is no basis to disturb that finding now. The evidence shows
  20 prison administrators at Terminal Island are still not responding to grievances,
  21 which renders administrative remedies effectively unavailable to Petitioners. Thus,
  22 exhaustion of administrative remedies is not required by the PLRA given the facts
  23 of this case, and Petitioners are not precluded from obtaining relief.
  24
  25             26.   Respondents are entitled to summary judgment as to all of Petitioners’
  26 claims.
  27             CONTESTED.
  28
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         PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
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    1            This is not a statement of law, but is instead a conclusory assertion about the
    2 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
    3 motion sets out the reasons why this statement is false.
    4
    5            27.   Any Undisputed Fact which is deemed a Conclusion of Law shall be
    6 considered a Conclusion of Law.
    7            TAUTALOGICAL AND IRRELEVANT.
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    1 DATED: August 9, 2021               Respectfully submitted,
    2
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  22                                      By:         /s/ Oliver Rocos
  23                                                        Oliver Rocos
                                                Attorneys for Plaintiff-Petitioners
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                          DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
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